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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                  AUGUSTA DIVISION

UNITED STATES OF AMERICA                      *
                                              *
                    Plaintiffs,               *
                                              *
 v.                                           *       NO. 1:17-CR-00034 (BKE)
                                              *
REALITY LEIGH WINNER                          *
                                              *
                    Defendant.                *
                                              *
* * * * * * * * * * * * * * * * * * *

          [PROPOSED] ORDER PERMITTING WITHDRAWAL OF CO-COUNSEL

          For good cause shown, this Court hereby GRANTS the Motion to Withdraw as Co-

Counsel to Defendant, and

          IT IS HEREBY ORDERED that Jill E. McCook is terminated as counsel of record in this

matter.

          So ORDERED this _____ day of __________, 2018.


                                            ____________________________________
                                            The Honorable Brian K. Epps
                                            Magistrate Judge, U.S. District Court
                                            of the Southern District of Georgia
